89 F.3d 833
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.FRANKEL/FORBES-COHEN ASSOCIATES, a Michigan co-partnership;Forbes/Cohen Properties, a Michigan co-partnership;  FrankelAssociates, Inc.;  Samuel Frankel;  Nathan Forbes;  MauriceCohen;  Sidney Forbes, Plaintiffs-Appellees,v.RICHARD A. PLEHN, INC., a New York corporation;  Richard A.Plehn, Defendants-Appellants.
    No. 95-1164.
    United States Court of Appeals, Sixth Circuit.
    June 7, 1996.
    
      1
      Before:  MERRITT and COLE, Circuit Judges;  Echols, District Judge*.
    
    ORDER
    
      2
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      3
      It is ORDERED that the judgment of the district court be, and it hereby is, affirmed upon the opinion of the district court.
    
    
      
        *
         The Honorable Robert L. Echols, U.S. District Judge for the Middle District of Tennessee, sitting by designation
      
    
    